This is a companion case to No. 4158, First National BenefitSociety, a Corporation, Appellant, v. Lucy Newcomer Fiske,Appellee, ante, p. 290, 101 P.2d 205. The two cases were consolidated for the purpose of trial. The principle difference is that there was undoubtedly evidence admitted before the jury tending to show that the insured, Charles E. Fiske, failed to disclose to the insurer that an application of his for insurance in another company, made some fifteen days before he applied for the certificate involved herein, had been rejected. This evidence makes the objectionable instruction set forth in the opinion in No. 4158 reversible error in the present case.
The judgment is reversed and the case remanded for a new trial.
ROSS, C.J., and McALISTER, J., concur. *Page 301 